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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                 Fort Lauderdale Division

In re                                                         Case No. 19-10655-SMG

CONSUMER ADVOCACY CENTER, INC.,                               Chapter 7

        Debtor.
                                                 /

SONYA SALKIN SLOTT,                                           Adv. No
Chapter 7 Trustee

        Plaintiff,

v.

THE BREA FINANCIAL GROUP, LLC
D/B/A PUB CLUB LEADS and ADAM STHAY,

      Defendants.
__________________________________________/

                         COMPLAINT TO AVOID AND RECOVER
                             FRAUDULENT TRANSFERS

        Plaintiff, SONYA SALKIN SLOTT (the “Plaintiff” or the “Trustee”), as Chapter 7

Trustee for Consumer Advocacy Center, Inc. (the “Debtor”), files this Complaint to Avoid and

Recover Fraudulent Transfers against the Defendants, The Brea Financial Group, LLC d/b/a Pub

Club Leads and Adam Sthay (the “Defendants”), and alleges as follows:

                       THE PARTIES, JURISDICTION AND VENUE

        1.      On January 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of Florida (the “Bankruptcy Court”).

        2.      Prior to the Petition Date, Albert Kim was the president of the Debtor. Upon

information and belief, as of the Petition Date, Albert Kim was either the Debtor’s sole or principal

shareholder.
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       3.      On July 31, 2019, the Bankruptcy Court entered an Order directing the appointment

of a Chapter 11 Trustee for the Debtor. Plaintiff, Sonya S. Slott, was thereafter appointed as the

Debtor’s Chapter 11 Trustee.

       4.      On August 20, 2019, the Debtor’s case was converted to a Chapter 7 proceeding.

Plaintiff, Sonya S. Slott, was thereafter appointed as the Debtor’s Chapter 7 Trustee.

       5.      Defendant The Brea Financial Group, LLC d/b/a Pub Club Leads (“Pub Club”) is

a California corporation with business addresses at 351 S. Old Bridge Road, Anaheim Hills, CA

92808 and 774 Placentia Avenue, Suite 301, Placentia CA 92870.

       6.      Pub Club Leads is a registered fictitious name of the Defendant.

       7.      Defendant Adam Sthay (“Sthay”) is an individual residing in California, and is the

owner and Chief Executive Officer of Defendant Pub Club.

       8.      The Bankruptcy Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 157(a) and 1334(b).

       9.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (F), (H) and (O).

The Trustee consents to the entry of final orders and judgment by the Bankruptcy Court.

       10.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       11.     All conditions precedent to the filing of this action have been performed, occurred,

waived or have otherwise been excused.

                            FACTS COMMON TO ALL COUNTS

                                    The Underlying Scheme

       12.     Prior to the Petition Date, the Debtor was purportedly in the business of providing

student loan debt relief services. The Debtor did business as “Premier Student Loans” or “Premier

Student Loan Center”. The Debtor claims to have “assisted Federal student loan borrowers by

helping them choose the best Dept. of Education repayment programs to suit their needs.” The




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Debtor also claims to have “assisted such borrowers by preparing the requisite documentation they

needed to submit to the Dept. of Education.” See ECF No. 11 in Case No. 19-10655-SMG.

       13.     Instead, the Debtor operated an unlawful debt relief enterprise that deceived

thousands of federal student loan borrowers and collected millions in illicit advance fees in

violation of various federal and state consumer protection laws.

       14.     Among other things, while the Debtor purported to help federal student loan

borrowers obtain loan forgiveness or lower monthly payments through programs administered by

the U.S. Department of Education, it instead (a) deceived consumers by misrepresenting (i) that

they would qualify for loan forgiveness in a matter of months, when forgiveness takes at least 10

years of on-time payments and is determined by the Department of Education, (ii) that they were

approved for lower monthly payments on their student loans when consumers had not yet been

approved or when new payment amounts were based on false information, (iii) that the lower

payments would be permanent when in fact they are subject to change based on certain factors, (b)

falsely led consumers to believe that their payments to the Debtor would go towards reducing

student loan balances, (c) failed to inform consumers that it was their practice to request that

consumers’ loans be placed into forbearance or that interest would continue to accrue during the

forbearance period, thereby increasing loan balances, (c) submitted false information about

consumers’ income, family size and marital status on loan adjustment applications, and (d) failed

to use payments from consumers to reduce student loan debts. Moreover, the Debtor collected

advance fees for their purported debt relief services, in violation of the Telemarketing Sales Rule

(16 C.F.R. § 310).

       15.     Consumers paid millions of dollars and received little, if anything, in return.

Consumers generally did not get their debts paid, settled, or resolved, and did not see their credit




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improve. Instead, consumers were left in worse financial positions, some of whom were already

in financial distress.

        16.     Beginning in November 2015 and thereafter, the amounts collected from

consumers, including fees, in violation of applicable federal law and common law created

liabilities for the Debtor and were sufficient to cause the Debtor to be insolvent.

        17.     As a result of the acts and conduct of the Debtor and its principal, claims in excess

of $81 million were filed by several government entities on behalf of consumers and in furtherance

of consumer protection laws. Among other claims that were filed in the bankruptcy case, the State

of Minnesota filed Proof of Claim number 4-2 in the amount of $32,923,344.02, the State of North

Carolina filed Proof of Claim number 5-2 in the amount of $2,871,359.26, the Federal Bureau of

Consumer Financial Protection filed Proof of Claim number 6-2 in the amount of $35,105,017.93,

and the State of California filed claim number 11-1 in the amount of $10,545,496.40.

        18.     In addition, at all times material hereto, the Debtor was inadequately capitalized

and/or was otherwise unable to pay its debts as such debts matured or became due, or was engaged

in business or a transaction, or was about to engage in business or a transaction, for which any

property remaining with the Debtor was an unreasonably small capital.

        19.     The Debtor, through its management and control persons, misappropriated and

misdirected consumer funds that were supposed to have been used by the Debtor for the debt relief

services promised to consumers. Instead, the funds were used to among other things support the

lifestyles of the Debtor’s insiders and continue the illicit operations.

                                     The Enforcement Action

        20.     On October 21, 2019, the Federal Bureau of Consumer Financial Protection as well

as the State of Minnesota, the State of North Carolina and the State of California (collectively, the

“Governments”) filed a Complaint in the United States District Court for the Central District of




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California (the “District Court”) against the Debtor and certain related entities and individuals,

including the Debtor’s president Albert Kim, captioned Bureau of Consumer Financial Protection,

et al., v. Consumer Advocacy Center, Inc., True Count Staffing, Inc., Prime Consulting, LLC,

Albert Kim, Kaine Wen, and Tuong Nguyen, Defendants, and Infinite Management Corp., Hold

the Door Corp. and TN Accounting, Inc., Relief Defendants Case No. 19-cv-01998-JVS (the

“District Court Proceeding”), which complaint was amended on February 24, 2020 to add certain

other defendants.

       21.     As alleged by the Governments in the District Court Proceeding, the Debtor,

through Albert Kim, and other defendants named in the District Court Proceeding, operated a debt-

relief enterprise since at least 2015 which deceived thousands of federal student loan borrowers

and collected millions in unlawful advance fees in violation of various federal and state consumer

protection laws, including the Consumer Financial Protection Act of 2010 (CFPA), 12 U.S.C. §§

5531, 5536(a), 5564 & 5565, the Telemarketing and Consumer Fraud and Abuse Prevention Act

15 U.S.C. §§ 6101-6108 and the Telemarketing Sales Rule (TSR), 16 C.F.R. Part 310. Among

other things, the Debtor, Albert Kim and other defendants engaged in an unlawful student-loan

debt-relief business that, among other things, harmed consumers nationwide by charging unlawful

advance fees, deceiving consumers, and misrepresenting the terms and conditions of services.

       22.     On October 21, the District Court entered an Ex-Parte Temporary Restraining

Order with Asset Freeze, Appointment of Receiver, and Other Equitable Relief, and Order to Show

Cause why a Preliminary Injunction should not Issue [ECF No. 24 in the District Court

Proceeding] (the “TRO”).

       23.     On November 15, 2019, the District Court entered a Stipulated Preliminary

Injunction With Asset Freeze, Appointment of Receiver, and Other Equitable Relief [ECF No. 103

in the District Court Proceeding] (the “Preliminary Injunction”).



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         24.    In the Preliminary Injunction, the District Court found that good cause existed to

conclude that the Debtor and Albert Kim, among other things, violated federal and state consumer

protection laws, and further concluded that the Governments are likely to prevail on the merits in

the District Court Proceeding. Notably, the Preliminary Injunction was entered into with the

agreement of all other defendants to the litigation.

         25.    Prior to the commencement of the District Court Proceeding and facing

investigation and scrutiny from law enforcement and federal and state regulators, the Debtor and

Albert Kim transferred the Debtor’s purported debt relief operation to related corporate entities

in late 2019, including to True Count Staffing Inc. d/b/a SL Account Management and Prime

Consulting LLC d/b/a Financial Preparation Services, and otherwise drained and transferred assets

out of Debtor. Several months later, Albert Kim caused the Debtor to file for Chapter 11 in this

Court.

         26.    Following the entry of the TRO and the Preliminary Injunction, the Receiver

appointed for the entities which took over the Debtor’s operations concluded that the business

could not be operated profitably or lawfully, and shut the operations down.

         27.    To date, several of the defendants in the District Court Proceeding have stipulated

to substantial final monetary judgments, in addition to among other things a permanent ban on

telemarketing and offering debt relief services: Tuong Nguyen ($95 million), TN Accounting

($445,000), Prime Consulting, LLC ($95 million), Horizon Consulting LLC ($13 Million), Hold

the Door Corp. ($1.6 million ) and Mice and Men LLC ($5 million) [See ECF Nos. 210, 211 and

218 in the District Court Proceeding].

                 Defendant’s Role and Relationship with the Debtor’s Scheme

         28.    Defendant Pub Club is a lead generation and marketing company. Lead generation

is the process of attracting strangers to a business for purposes of selling such business’ services.




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       29.     On or about November 10, 2015, the Debtor and Defendant Pub Club entered into

a Marketing Agreement pursuant to which Defendant Pub Club was to “provide traffic that creates

customer inquiries in the form of Valid Leads to Pub Club Leads” for compensation. Thereafter,

on or about July 19, 2017, the Debtor and Defendant Pub Club entered into a Managed Marketing

Agreement pursuant to which Defendant Pub Club would provide “advertising account initiation,

programming and development of advertising solutions, and development of web-based

advertising solutions through various methods,” whereby among other things Defendant Pub Club

set up and initiated the Debtor’s digital media advertising campaigns.

       30.     This lead generation and marketing relationship was critical to the Debtor’s

scheme. Without the ability to drive consumer traffic to the Debtor, the Debtor effectively had

little or no operations, could not maintain the appearance of a legitimate debt relief business, could

not receive payments from consumers that provided the great majority of its “revenues”, could not

make payroll for the telemarketers employed to dupe consumers, and could not engage in any other

of the myriad of transactions that cheated consumers out of their money and then diverted ill-

gotten funds for the personal benefit of insiders. In short, the scheme could not exist without the

assistance of Defendant Pub Club.

       31.     The Debtor utilized Defendants as the fuel which drove its consumer debt relief

scheme. In exchange, the Debtor paid Defendants millions of dollars which provided no legitimate

benefit to the Debtor’s illicit and unlawful operation.

       32.     Defendant Pub Club was so integral to the Debtor’s operations that it occupied the

marketing office at the office of the Debtor’s affiliate located at 15261 Laguna Canyon Road, Suite

200, Irvine California.




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                 THE AVOIDABLE TRANSFERS AT ISSUE IN THIS CASE

          33.    Between November 12, 2015 and September 18, 2018, the Debtor transferred the

sum of $4,835,268.57 to Defendant Pub Club (the “Pub Club Transfers”). A schedule of the Pub

Club Transfers is attached as Exhibit “A”.

          34.    Between October 20, 2016 and November 16, 2016, the Debtor transferred the sum

of $110,240.00 to Defendant Sthay (the “Sthay Transfers”). A schedule of the Sthay Transfers

is attached as Exhibit “B”.

          35.    The Debtor did not receive any legitimate benefit in exchange for the Pub Club

Transfers or the Sthay Transfers.

                                COUNT I
         AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
     PURSUANT TO SECTIONS 548(a)(1)(A) & (B) OF THE BANKRUPTCY CODE

                               (AS TO DEFENDANT PUB CLUB)

          36.    The Plaintiff re-states and re-alleges paragraphs 1 through 35 as if fully set forth

herein.

          37.    Pursuant to 11 U.S.C. § 548(a)(1)(A) and 11 U.S.C. § 544, the Trustee may avoid

any transfer of an interest of the debtor in property, or any obligation incurred by the debtor, that

was made or incurred on or within 2 years (under Section 548 of the Bankruptcy Code) before the

date of the filing of the petition, if the debtor voluntarily or involuntarily –

                 made such transfer or incurred such obligation with actual intent to
                 hinder, delay, or defraud any entity to which the debtor was or
                 became, on or after the date that such transfer was made or such
                 obligation was incurred, indebted; . . .

          38.    Alternatively, pursuant to 11 U.S.C. § 548(a)(1)(B) and 11 U.S.C. §544, the Trustee

may avoid any transfer of an interest of the debtor in property, or any obligation incurred by the

debtor, that was made or incurred on or within 2 years (under Section 548 of the Bankruptcy Code)

before the date of the filing of the petition, if the debtor voluntarily or involuntarily –



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               (i) received less than a reasonably equivalent value in exchange for
               such transfer or obligation; and

               (ii)    (I) was insolvent on the date that such transfer was made or
               such obligation was incurred, or became insolvent as a result of such
               transfer or obligation;

                      (II) was engaged in business or a transaction, or was about
               to engage in business or a transaction, for which any property
               remaining with the debtor was an unreasonably small capital; or

                       (III) intended to incur, or believed that the debtor would
               incur, debts that would be beyond the debtor’s ability to pay as such
               debts matured; . . .

       39.     Further, pursuant to 11 U.S.C. § 550(a), in a fraudulent transfer action commenced

under Sections 544 and 548 of the Bankruptcy Code, the Trustee may recover, for the benefit of

the estate, the property transferred, or, if the Court so orders, the value of such property, from (1)

the initial transferee of such transfer or the entity for whose benefit such transfer was made; or (2)

any immediate or mediate transferee of such initial transferee.

       40.     The Pub Club Transfers that were made within two (2) years of the Petition Date to

Defendant Pub Club constitute transfers of an interest in property of the Debtor avoidable under

11 U.S.C. § 548(a)(1)(A), were made with actual intent to hinder or delay creditors of the Debtor,

and such Transfers were not received in good faith by the Defendant Pub Club. Among other

badges of fraud and/or lack of good faith, at or near the time of the Transfers: (i) the Debtor,

through Albert Kim, was operating an unlawful debt-relief enterprise in violation of federal and

state consumer protection laws, (ii) the Debtor was insolvent including not paying its debts as they

became due; and (iii) the Debtor did not receive reasonably equivalent value for the Pub Club

Transfers.

       41.     Moreover, the Pub Club Transfers that occurred within two (2) years of the Petition

Date to Defendant Pub Club also constitute constructively fraudulent transfers of an interest in

property of the Debtor avoidable under 11 U.S.C. § 548(a)(1)(B), as the Debtor (i) did not receive


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reasonably equivalent value at the time such Pub Club Transfers were made; (ii) was insolvent at

the time of the Pub Club Transfers to Defendant Pub Club or became insolvent as a result thereof;

(iii) was engaged or was about to engage in a business or transaction for which the remaining

assets of the Debtor were unreasonably small in relation to the business or transaction; or (iv)

intended to incur, or believed or reasonably should have believed, that it would incur debts beyond

its ability to pay as they came due.

       42.     Defendant Pub Club was the initial transferee or the entity for whose benefit the

Pub Club Transfers were made, and as a result, the Trustee is entitled to avoid and recover the

Transfers pursuant to 11 U.S.C. §550(a)(1).

       43.     To the extent that Defendant Pub Club is the immediate or mediate (subsequent)

transferee of the initial transferee for whose benefit the Pub Club Transfers were made, the Trustee

is entitled to recover the Pub Club Transfers pursuant to 11 U.S.C. §550(a)(2).

       WHEREFORE, the Plaintiff, Sonya S. Slott, as Chapter 7 for the Debtor Consumer

Advocacy Center, Inc., demands judgment against Defendant Pub Club (a) determining that each

of the Pub Club Transfers that occurred within two (2) years of the Petition Date are avoidable

under 11 U.S.C. §548(a)(1)(A) and (B); (b) avoiding each of the Pub Club Transfers and entering

judgment in favor of the Plaintiff against Defendant Pub Club in the amount of the Pub Club

Transfers, or the value thereof, and as otherwise detailed in the amounts set forth herein, plus pre-

judgment interest from the date of the transfers and post-judgment interest, and costs of suit, all

pursuant to 11 U.S.C. §550; (c) disallowing any claim that Defendant Pub Club may have against

the Estate of the Debtor, including without limitation, pursuant to and as provided in 11 U.S.C.

§502(d); and (d) for such other and further relief as the Court deems just and proper.




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                                       COUNT II
              AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
             PURSUANT TO SECTION 544 OF THE BANKRUPTCY CODE AND
                SECTION 726.105(1)(a) & (b) OF THE FLORIDA STATUTES

                                (AS TO DEFENDANT PUB CLUB)

          44.    The Plaintiff re-states and re-alleges paragraphs 1 through 35 as if fully set forth

herein.

          45.    Pursuant to 11 U.S.C. §544(b), the Trustee may avoid any transfer of an interest of

the Debtor in property or any obligation incurred by the Debtor that is voidable under applicable

law by a creditor holding an unsecured claim that is allowable under 11 U.S.C. § 502 or that is

not allowable only under 11 U.S.C. § 502(e).

          46.    Florida Statutes Section 726.105(1)(a) provides:

                 (1) A transfer made or obligation incurred by a debtor is fraudulent
                 as to a creditor, whether the creditor’s claim arose before or after the
                 transfer was made or the obligation was incurred, if the debtor made
                 the transfer or incurred the obligation:

                     (a) With actual intent to hinder, delay, or defraud any creditor
                         of the debtor. . .

          47.    Alternatively, Florida Statutes Section 726.105(1)(b) provides:

                 (1) A transfer made or obligation incurred by a debtor is fraudulent
                 as to a creditor, whether the creditor’s claim arose before or after the
                 transfer was made or the obligation was incurred, if the debtor made
                 the transfer or incurred the obligation:

                 (b) Without receiving reasonably equivalent in value in exchange
                 for the transfer or obligation, and the debtor:

                         (1) Was engaged or was about to engage in a business or a
                 transaction for which the remaining assets of the debtor were
                 unreasonably small in relation to the business or transaction; or

                         (2) Intended to incur, or believed or reasonably should have
                 believed that he or she would incur, debts beyond his or her ability
                 to pay as they became due.




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       48.     Further, pursuant to 11 U.S.C. §550, in a fraudulent transfer action commenced

under Chapter 726 of the Florida Statutes, the Trustee may recover, for the benefit of the estate,

the property transferred, or, if the Court so orders, the value of such property, from (1) the initial

transferee of such transfer or the entity for whose benefit such transfer was made; and (2) any

immediate or mediate transferee of such initial transferee.

       49.     The Pub Club Transfers to Defendant Pub Club, or the value of thereof, were

transfers made by the Debtor with the actual intent to hinder, delay, and/or defraud creditors of

Debtor pursuant to § 726.105(1)(a), Florida Statutes.

       50.     At the time of the Pub Club Transfers, the Debtor was, and still is, indebted in an

amount greater than the Pub Club Transfers.

       51.     Moreover, the Pub Club Transfers to Defendant Pub Club were made without the

Debtor receiving reasonably equivalent value in exchange for the Pub Club Transfers pursuant to

§726.105(1)(b), Florida Statutes.

       52.     At the time of the Pub Club Transfers, the Debtor was engaged or was about to

engage in a business or a transaction for which the remaining assets of the Debtor were

unreasonably small in relation to the business or transactions in which the Debtor was engaged.

       53.     At the time of the Pub Club Transfers, the Debtor had incurred debts beyond its

ability to pay as they became due.

       54.     The Debtor was otherwise insolvent at the time of the Pub Club Transfers.

       55.     As a result, the Debtor’s estate has been damaged pursuant to 11 U.S.C. § 544(b)

for the total value of the Pub Club Transfers.

       56.     Defendant Pub Club was the initial transferee or the entity for whose benefit the

Pub Club Transfers were made, and as a result, the Trustee is entitled to avoid and recover the Pub




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Club Transfers from Defendant Pub Club under 11 U.S.C. § 544 of the Bankruptcy Code and

§726.105(1)(a) & (b) of Florida Statutes.

          57.    Alternatively, Defendant Pub Club is the immediate or mediate (subsequent)

transferee of the initial transferee for whose benefit the Pub Club Transfers were made, and as a

result, the Trustee is entitled to recover the Pub Club Transfers as referenced above from Defendant

Pub Club pursuant to 11 U.S.C. §550(a)(2).

          58.    Therefore, in accordance with 11 U.S.C. §550(a), the recovery of property for the

benefit of the Debtor’s estate is authorized to the extent that the respective Pub Club Transfers are

avoided under §726.105(1)(a) & (b) of the Florida Statutes.

          WHEREFORE, the Plaintiff, Sonya S. Slott, as Chapter 7 for Consumer Advocacy

Center, Inc., demands judgment against Defendant Pub Club (a) determining that each of the Pub

Club Transfers are avoidable under Florida Statutes 726.105(1)(a) & (b); (b) avoiding the Pub

Club Transfers and entering judgment in favor of the Plaintiff against Defendant Pub Club in the

amount of the Pub Club Transfers, or the value of thereof, and as otherwise detailed in the amounts

set forth herein, plus pre-judgment interest from the date of the transfers and post-judgment

interest, and costs of suit, all pursuant to 11 U.S.C. §550; (c) disallowing any claim that Defendant

Pub Club may have against the Estates of the Debtors, including without limitation, pursuant to

and as provided in 11 U.S.C. §502(d); and (d) for such other and further relief as the Court deems

just and proper.

                                     COUNT III
              AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
             PURSUANT TO SECTION 544 OF THE BANKRUPTCY CODE AND
                   SECTION 726.106(1) OF THE FLORIDA STATUTES

                               (AS TO DEFENDANT PUB CLUB)

          59.    The Plaintiff re-states and re-alleges paragraphs 1 through 35 as if fully set forth

herein.


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       60.     Pursuant to 11 U.S.C. §544(b), the Trustee may avoid any transfer of an interest of

the Debtor in property or any obligation incurred by the Debtor that is voidable under applicable

law by a creditor holding an unsecured claim that is allowable under 11 U.S.C. §502 or that is not

allowable only under 11 U.S.C. §502(e).

       61.     Florida Statutes Section 726.106(1) provides:

               A transfer made or obligation incurred by a debtor is fraudulent as
               to a creditor whose claim arose before the transfer was made or the
               obligation was incurred if the debtor made the transfer or incurred
               the obligation without receiving a reasonably equivalent value in
               exchange for the transfer or obligation and the debtor was insolvent
               at that time or the debtor became insolvent as a result of the transfer
               or obligation.

       62.     The Pub Club Transfers to Defendant Pub Club, or the value of thereof, and as

otherwise detailed in the amounts set forth herein, were made without the Debtor receiving

reasonably equivalent value in exchange for such transfers pursuant to §726.106(1), Florida

Statutes.

       63.     As set forth above, at the time of the Pub Club Transfers, the Debtor was insolvent

or became insolvent as a result of the Pub Club Transfers.

       64.     At the time of the Pub Club Transfers, the Debtor was indebted to creditors in an

amount in excess of the Pub Club Transfers.

       65.     As a result thereof, the Debtor’s estate has been damaged pursuant to 11 U.S.C. §

544(b) for the total value of the Transfers.

       66.     Defendant Pub Club was the initial transferee or the entity for whose benefit the

Pub Club Transfers, or the value of thereof, and as otherwise detailed in the amounts set forth

herein, were made, and as a result, the Trustee is entitled to recover the Pub Club Transfers

pursuant to 11 U.S.C. §550(a)(1).




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          67.    To the extent that the Defendant is the immediate or mediate transferee of the initial

transferee for whose benefit the Pub Club Transfers were made, and as a result, the Trustee is

entitled to recover the Pub Club Transfers as referenced above from Defendant Pub Club pursuant

to 11 U.S.C. §550(a)(2).

          68.    As a result of the above, the Trustee can avoid the Pub Club Transfers to Defendant

Pub Club pursuant to Sections 544 and 548 of the Bankruptcy Code and Chapter 726 of the Florida

Statues, and recover the value thereof for the benefit of the estate pursuant to Section 550 of the

Bankruptcy Code.

          WHEREFORE, the Plaintiff, Sonya S. Slott, as Chapter 7 for Consumer Advocacy

Center, Inc., demands judgment against Defendant Pub Club (a) determining that each of the Pub

Club Transfers are fraudulent and avoidable under 11 U.S.C. §726.106(1), Fla. Stats.; (b) avoiding

the Pub Club Transfers and entering judgment in favor of the Plaintiff against Defendant Pub Club

in the amount of the Pub Club Transfers, or the value of thereof, and as otherwise detailed in the

amounts set forth herein, plus pre-judgment interest from the date of the transfers and post-

judgment interest, and costs of suit, all pursuant to 11 U.S.C. §550; (c) disallowing any claim that

Defendant Pub Club may have against the Debtor’s estate, including without limitation, pursuant

to and as provided in 11 U.S.C. §502(d); and (d) for such other and further relief as the Court

deems just and proper.

                                          COUNT IV
                                     UNJUST ENRICHMENT

                                (AS TO DEFENDANT PUB CLUB)

          69.    The Trustee repeats and realleges Paragraphs 1 through 35 as if fully set forth

herein.

          70.    Through the Pub Club Transfers, the Debtor conferred a benefit upon Defendant

Pub Club who had knowledge thereof.


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          71.    Defendant Pub Club voluntarily accepted and retained the benefits of the Pub Club

Transfers conferred.

          72.    The facts and circumstances render Defendant Pub Club’s retention of the benefits

of the Pub Club Transfers inequitable unless Defendant Pub Club pays the Plaintiff the value of

the Pub Club Transfers.

          WHEREFORE, Plaintiff, Sonya S. Slott, as Chapter 7 trustee for the Debtor, Consumer

Advocacy Center, Inc., demands judgment against Defendant Pub Club (a) for the value of the Pub

Club Transfers; (b) prejudgment interest; (c) costs; and (d) for such other and further relief as the

Court deems just and proper.

                                       COUNT V
              AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
             PURSUANT TO SECTION 544 OF THE BANKRUPTCY CODE AND
                SECTION 726.105(1)(a) & (b) OF THE FLORIDA STATUTES

                                  (AS TO DEFENDANT STHAY)

          73.    The Plaintiff re-states and re-alleges paragraphs 1 through 35 as if fully set forth

herein.

          74.    Pursuant to 11 U.S.C. §544(b), the Trustee may avoid any transfer of an interest of

the Debtor in property or any obligation incurred by the Debtor that is voidable under applicable

law by a creditor holding an unsecured claim that is allowable under 11 U.S.C. § 502 or that is

not allowable only under 11 U.S.C. § 502(e).

          75.    Florida Statutes Section 726.105(1)(a) provides:

                 (1) A transfer made or obligation incurred by a debtor is fraudulent
                 as to a creditor, whether the creditor’s claim arose before or after the
                 transfer was made or the obligation was incurred, if the debtor made
                 the transfer or incurred the obligation:

                     (b) With actual intent to hinder, delay, or defraud any creditor
                         of the debtor. . .

          76.    Alternatively, Florida Statutes Section 726.105(1)(b) provides:



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               (1) A transfer made or obligation incurred by a debtor is fraudulent
               as to a creditor, whether the creditor’s claim arose before or after the
               transfer was made or the obligation was incurred, if the debtor made
               the transfer or incurred the obligation:

               (b) Without receiving reasonably equivalent in value in exchange
               for the transfer or obligation, and the debtor:

                       (1) Was engaged or was about to engage in a business or a
               transaction for which the remaining assets of the debtor were
               unreasonably small in relation to the business or transaction; or

                       (2) Intended to incur, or believed or reasonably should have
               believed that he or she would incur, debts beyond his or her ability
               to pay as they became due.

       77.     Further, pursuant to 11 U.S.C. §550, in a fraudulent transfer action commenced

under Chapter 726 of the Florida Statutes, the Trustee may recover, for the benefit of the estate,

the property transferred, or, if the Court so orders, the value of such property, from (1) the initial

transferee of such transfer or the entity for whose benefit such transfer was made; and (2) any

immediate or mediate transferee of such initial transferee.

       78.     The Sthay Transfers to Defendant Sthay, or the value of thereof, were transfers

made by the Debtor with the actual intent to hinder, delay, and/or defraud creditors of Debtor

pursuant to § 726.105(1)(a), Florida Statutes.

       79.     At the time of the Sthay Transfers, the Debtor was, and still is, indebted in an

amount greater than the Sthay Transfers.

       80.     Moreover, the Sthay Transfers to Defendant Sthay were made without the Debtor

receiving reasonably equivalent value in exchange for the Sthay Transfers pursuant to

§726.105(1)(b), Florida Statutes.

       81.     At the time of the Sthay Transfers, the Debtor was engaged or was about to engage

in a business or a transaction for which the remaining assets of the Debtor were unreasonably small

in relation to the business or transactions in which the Debtor was engaged.



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       82.     At the time of the Sthay Transfers, the Debtor had incurred debts beyond its ability

to pay as they became due.

       83.     The Debtor was otherwise insolvent at the time of the Sthay Transfers.

       84.     As a result, the Debtor’s estate has been damaged pursuant to 11 U.S.C. § 544(b)

for the total value of the Sthay Transfers.

       85.     Defendant Sthay was the initial transferee or the entity for whose benefit the Sthay

Transfers were made, and as a result, the Trustee is entitled to avoid and recover the Sthay

Transfers from Defendant Sthay under 11 U.S.C. § 544 of the Bankruptcy Code and

§726.105(1)(a) & (b) of Florida Statutes.

       86.     Alternatively, Defendant Sthay is the immediate or mediate (subsequent) transferee

of the initial transferee for whose benefit the Sthay Transfers were made, and as a result, the

Trustee is entitled to recover the Sthay Transfers as referenced above from Defendant Sthay

pursuant to 11 U.S.C. §550(a)(2).

       87.     Therefore, in accordance with 11 U.S.C. §550(a), the recovery of property for the

benefit of the Debtor’s estate is authorized to the extent that the respective Sthay Transfers are

avoided under §726.105(1)(a) & (b) of the Florida Statutes.

       WHEREFORE, the Plaintiff, Sonya S. Slott, as Chapter 7 for Consumer Advocacy

Center, Inc., demands judgment against Defendant Sthay (a) determining that each of the Sthay

Transfers are avoidable under Florida Statutes 726.105(1)(a) & (b); (b) avoiding the Sthay

Transfers and entering judgment in favor of the Plaintiff against Defendant Sthay in the amount of

the Sthay Transfers, or the value of thereof, and as otherwise detailed in the amounts set forth

herein, plus pre-judgment interest from the date of the transfers and post-judgment interest, and

costs of suit, all pursuant to 11 U.S.C. §550; (c) disallowing any claim that Defendant Sthay may




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have against the Estates of the Debtors, including without limitation, pursuant to and as provided

in 11 U.S.C. §502(d); and (d) for such other and further relief as the Court deems just and proper.

                                     COUNT VI
              AVOIDANCE AND RECOVERY OF FRAUDULENT TRANSFERS
             PURSUANT TO SECTION 544 OF THE BANKRUPTCY CODE AND
                   SECTION 726.106(1) OF THE FLORIDA STATUTES

                                  (AS TO DEFENDANT STHAY)

          88.    The Plaintiff re-states and re-alleges paragraphs 1 through 35 as if fully set forth

herein.

          89.    Pursuant to 11 U.S.C. §544(b), the Trustee may avoid any transfer of an interest of

the Debtor in property or any obligation incurred by the Debtor that is voidable under applicable

law by a creditor holding an unsecured claim that is allowable under 11 U.S.C. §502 or that is not

allowable only under 11 U.S.C. §502(e).

          90.    Florida Statutes Section 726.106(1) provides:

                 A transfer made or obligation incurred by a debtor is fraudulent as
                 to a creditor whose claim arose before the transfer was made or the
                 obligation was incurred if the debtor made the transfer or incurred
                 the obligation without receiving a reasonably equivalent value in
                 exchange for the transfer or obligation and the debtor was insolvent
                 at that time or the debtor became insolvent as a result of the transfer
                 or obligation.

          91.    The Sthay Transfers to Defendant Sthay, or the value of thereof, and as otherwise

detailed in the amounts set forth herein, were made without the Debtor receiving reasonably

equivalent value in exchange for such transfers pursuant to §726.106(1), Florida Statutes.

          92.    As set forth above, at the time of the Sthay Transfers, the Debtor was insolvent or

became insolvent as a result of the Sthay Transfers.

          93.    At the time of the Sthay Transfers, the Debtor was indebted to creditors in an

amount in excess of the Sthay Transfers.




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       94.     As a result thereof, the Debtor’s estate has been damaged pursuant to 11 U.S.C. §

544(b) for the total value of the Transfers.

       95.     Defendant Sthay was the initial transferee or the entity for whose benefit the Sthay

Transfers, or the value of thereof, and as otherwise detailed in the amounts set forth herein, were

made, and as a result, the Trustee is entitled to recover the Sthay Transfers pursuant to 11 U.S.C.

§550(a)(1).

       96.     To the extent that the Defendant is the immediate or mediate transferee of the initial

transferee for whose benefit the Sthay Transfers were made, and as a result, the Trustee is entitled

to recover the Sthay Transfers as referenced above from Defendant Sthay pursuant to 11 U.S.C.

§550(a)(2).

       97.     As a result of the above, the Trustee can avoid the Sthay Transfers to Defendant

Sthay pursuant to Sections 544 and 548 of the Bankruptcy Code and Chapter 726 of the Florida

Statues, and recover the value thereof for the benefit of the estate pursuant to Section 550 of the

Bankruptcy Code.

       WHEREFORE, the Plaintiff, Sonya S. Slott, as Chapter 7 for Consumer Advocacy

Center, Inc., demands judgment against Defendant Sthay (a) determining that each of the Sthay

Transfers are fraudulent and avoidable under 11 U.S.C. §726.106(1), Fla. Stats.; (b) avoiding the

Sthay Transfers and entering judgment in favor of the Plaintiff against Defendant Sthay in the

amount of the Sthay Transfers, or the value of thereof, and as otherwise detailed in the amounts

set forth herein, plus pre-judgment interest from the date of the transfers and post-judgment

interest, and costs of suit, all pursuant to 11 U.S.C. §550; (c) disallowing any claim that Defendant

Sthay may have against the Debtor’s estate, including without limitation, pursuant to and as

provided in 11 U.S.C. §502(d); and (d) for such other and further relief as the Court deems just

and proper.




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                                         COUNT VII
                                     UNJUST ENRICHMENT

                                  (AS TO DEFENDANT STHAY)

          98.     The Trustee repeats and realleges Paragraphs 1 through 35 as if fully set forth

herein.

          99.     Through the Sthay Transfers, the Debtor conferred a benefit upon Defendant Sthay

who had knowledge thereof.

          100.    Defendant Sthay voluntarily accepted and retained the benefits of the Sthay

Transfers conferred.

          101.    The facts and circumstances render Defendant Sthay’s retention of the benefits of

the Sthay Transfers inequitable unless Defendant Sthay pays the Plaintiff the value of the Sthay

Transfers.

          WHEREFORE, Plaintiff, Sonya S. Slott, as Chapter 7 trustee for the Debtor, Consumer

Advocacy Center, Inc., demands judgment against Defendant Sthay (a) for the value of the Sthay

Transfers; (b) prejudgment interest; (c) costs; and (d) for such other and further relief as the Court

deems just and proper.




                        [THIS AREA WAS INTENTIONALLY LEFT BLANK]




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Dated this 12th day of January, 2021

                                       I hereby certify that I am admitted to the United States
                                       District Court for the Southern District of Florida and I am
                                       in compliance with the additional qualifications to practice
                                       in this Court set forth in Local Rule 2090-1(A).

                                       GENOVESE JOBLOVE & BATTISTA, P.A.
                                       Counsel for the Plaintiff, Sonya S. Slott, Trustee
                                       100 S.E. Second Street, Suite 4400
                                       Miami, Florida 7131
                                       Tel: (305) 349-2300
                                       Fax: (305) 349-2310


                                       By:     /s/ Gregory M. Garno
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                                               Florida Bar No. 013192
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           EXHIBIT “A”
           (Pub Club Transfers)




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                                                     In re: Consumer Advocacy Center, Inc.
                                                             Case No. 19-10655-SMG

                                          Schedule of Payments to PubClub Leads and Brea Financial
                                          For the Period of January 16, 2015 through January 16, 2019

                                                        (Sorted in Chronological Order)

  Bank                                                     Date                 Check
  Name               Account Name         Account No.     Cleared     Type       No.       (Payee)/Payor        Amount      Credits        Debits

Payments to PubClub Leads
Chase     Consumer Advocacy Center Inc.      x1522        11/12/15   Debit      N/A       PubClub Leads     $      (275.00) $      -   $      (275.00)
Chase     Consumer Advocacy Center Inc.      x1522        11/19/15   Debit      N/A       PubClub Leads            (220.00)        -          (220.00)
Chase     Consumer Advocacy Center Inc.      x1522        11/19/15   Debit      N/A       PubClub Leads            (220.00)        -          (220.00)
Chase     Consumer Advocacy Center Inc.      x1522        11/20/15   Debit      N/A       PubClub Leads          (1,100.00)        -        (1,100.00)
Chase     Consumer Advocacy Center Inc.      x1522        12/02/15   Debit      N/A       PubClub Leads          (1,150.00)        -        (1,150.00)
Chase     Consumer Advocacy Center Inc.      x1522        12/02/15   Debit      N/A       PubClub Leads          (1,215.00)        -        (1,215.00)
Chase     Consumer Advocacy Center Inc.      x1522        12/09/15   Debit      N/A       PubClub Leads          (1,150.00)        -        (1,150.00)
Chase     Consumer Advocacy Center Inc.      x1522        12/14/15   Debit      N/A       PubClub Leads          (1,150.00)        -        (1,150.00)
Chase     Consumer Advocacy Center Inc.      x1522        12/15/15   Debit      N/A       PubClub Leads          (1,100.00)        -        (1,100.00)
Chase     Consumer Advocacy Center Inc.      x1522        12/22/15   Debit      N/A       PubClub Leads          (2,250.00)        -        (2,250.00)
Chase     Consumer Advocacy Center Inc.      x1522        01/07/16   Debit      N/A       PubClub Leads          (1,150.00)        -        (1,150.00)
Chase     Consumer Advocacy Center Inc.      x1522        01/12/16   Debit      N/A       PubClub Leads          (1,150.00)        -        (1,150.00)
Chase     Consumer Advocacy Center Inc.      x1522        01/13/16   Debit      N/A       PubClub Leads          (1,150.00)        -        (1,150.00)
Chase     Consumer Advocacy Center Inc.      x1522        01/14/16   Debit      N/A       PubClub Leads          (1,150.00)        -        (1,150.00)
Chase     Consumer Advocacy Center Inc.      x1522        01/15/16   Debit      N/A       PubClub Leads          (1,150.00)        -        (1,150.00)
Chase     Consumer Advocacy Center Inc.      x1522        01/15/16   Credit     N/A       PubClub Leads            1,150.00 1,150.00              -
Chase     Consumer Advocacy Center Inc.      x1522        01/19/16   Debit      N/A       PubClub Leads          (1,150.00)        -        (1,150.00)
Chase     Consumer Advocacy Center Inc.      x1522        01/21/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        01/27/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        02/02/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        02/05/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        02/11/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        02/17/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        02/18/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        02/24/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        02/25/16   Debit      N/A       PubClub Leads          (4,600.00)        -        (4,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        03/04/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        03/11/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        03/15/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        03/22/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        03/30/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        04/07/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        04/13/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        04/18/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        04/20/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        04/22/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        04/27/16   Debit      N/A       PubClub Leads          (2,300.00)        -        (2,300.00)
Chase     Consumer Advocacy Center Inc.      x1522        04/28/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/09/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/12/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/16/16   Debit      N/A       PubClub Leads             (68.32)        -           (68.32)
Chase     Consumer Advocacy Center Inc.      x1522        05/17/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/18/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/20/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/20/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/24/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/25/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/25/16   Credit     N/A       PubClub Leads            2,600.00 2,600.00              -
Chase     Consumer Advocacy Center Inc.      x1522        05/26/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        05/27/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        06/01/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        06/02/16   Debit      N/A       PubClub Leads          (2,600.00)        -        (2,600.00)
Chase     Consumer Advocacy Center Inc.      x1522        06/03/16   Debit      N/A       PubClub Leads          (5,200.00)        -        (5,200.00)
Chase     Consumer Advocacy Center Inc.      x1522        06/09/16   Debit      N/A       PubClub Leads          (5,200.00)        -        (5,200.00)
Chase     Consumer Advocacy Center Inc.      x1522        06/13/16   Debit      N/A       PubClub Leads          (5,200.00)        -        (5,200.00)
Chase     Consumer Advocacy Center Inc.      x1522        06/14/16   Debit      N/A       PubClub Leads          (5,200.00)        -        (5,200.00)
Chase     Consumer Advocacy Center Inc.      x1522        06/16/16   Debit      N/A       PubClub Leads          (5,200.00)        -        (5,200.00)
Chase     Consumer Advocacy Center Inc.      x1522        06/20/16   Debit      N/A       PubClub Leads          (5,200.00)        -        (5,200.00)
Chase     Consumer Advocacy Center Inc.      x1522        07/27/16   Debit      N/A       PubClub Leads          (5,200.00)        -        (5,200.00)
Chase     Consumer Advocacy Center Inc.      x1522        07/28/16   Debit      N/A       PubClub Leads          (5,200.00)        -        (5,200.00)




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                                                   In re: Consumer Advocacy Center, Inc.
                                                           Case No. 19-10655-SMG

                                        Schedule of Payments to PubClub Leads and Brea Financial
                                        For the Period of January 16, 2015 through January 16, 2019

                                                      (Sorted in Chronological Order)

 Bank                                                    Date                 Check
 Name             Account Name          Account No.     Cleared     Type       No.       (Payee)/Payor      Amount         Credits   Debits

Chase   Consumer Advocacy Center Inc.      x1522        07/29/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/01/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/05/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/09/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/12/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/18/16   Debit      N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/01/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/01/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/02/16   Debit      N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/09/16   Debit      N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/14/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/14/16   Debit      N/A       PubClub Leads           (680.00)         -      (680.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/19/16   Debit      N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/22/16   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/23/16   Debit      N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/28/16   Debit      N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/29/16   Debit      N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        10/04/16   Debit      N/A       PubClub Leads           (800.00)         -      (800.00)
Chase   Consumer Advocacy Center Inc.      x1522        10/04/16   Debit      N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        10/04/16   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        10/12/16   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        10/12/16   Debit      N/A       PubClub Leads        (13,000.00)         -   (13,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        11/30/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/01/16   Debit      N/A       PubClub Leads         (5,200.00)         -    (5,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/02/16   Debit      N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/05/16   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/05/16   Debit      N/A       PubClub Leads         (1,240.00)         -    (1,240.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/07/16   Debit      N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/08/16   Debit      N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/08/16   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/13/16   Debit      N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/15/16   Debit      N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/15/16   Debit      N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/21/16   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/22/16   Debit      N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/28/16   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/29/16   Debit      N/A       PubClub Leads         (9,984.00)         -    (9,984.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/29/16   Debit      N/A       PubClub Leads         (9,984.00)         -    (9,984.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/29/16   Debit      N/A       PubClub Leads         (9,984.00)         -    (9,984.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/29/16   Debit      N/A       PubClub Leads         (9,984.00)         -    (9,984.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/29/16   Debit      N/A       PubClub Leads           (120.00)         -      (120.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/29/16   Debit      N/A       PubClub Leads         (2,184.00)         -    (2,184.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/29/16   Debit      N/A       PubClub Leads         (9,880.00)         -    (9,880.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/04/17   Debit      N/A       PubClub Leads         (1,680.00)         -    (1,680.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/05/17   Debit      N/A       PubClub Leads           (280.00)         -      (280.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/11/17   Debit      N/A       PubClub Leads           (160.00)         -      (160.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/11/17   Check      1394      Pubclub Leads        (26,000.00)         -   (26,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/12/17   Debit      N/A       PubClub Leads           (120.00)         -      (120.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/23/17   Check      1395      Pubclub Leads        (26,000.00)         -   (26,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/25/17   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/26/17   Debit      N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/27/17   Debit      N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/01/17   Debit      N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/01/17   Debit      N/A       PubClub Leads         (9,152.00)         -    (9,152.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/03/17   Debit      N/A       PubClub Leads         (2,400.00)         -    (2,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/03/17   Debit      N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/03/17   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/07/17   Debit      N/A       PubClub Leads         (9,438.00)         -    (9,438.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/09/17   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/09/17   Debit      N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/10/17   Debit      N/A       PubClub Leads        (15,600.00)         -   (15,600.00)




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                                                   In re: Consumer Advocacy Center, Inc.
                                                           Case No. 19-10655-SMG

                                        Schedule of Payments to PubClub Leads and Brea Financial
                                        For the Period of January 16, 2015 through January 16, 2019

                                                      (Sorted in Chronological Order)

 Bank                                                    Date                 Check
 Name             Account Name          Account No.     Cleared     Type       No.       (Payee)/Payor      Amount         Credits   Debits

Chase   Consumer Advocacy Center Inc.      x1522        02/14/17    Debit     N/A       PubClub Leads        (11,700.00)         -   (11,700.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/17/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/21/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/22/17    Debit     N/A       PubClub Leads        (15,860.00)         -   (15,860.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/22/17    Debit     N/A       PubClub Leads           (200.00)         -      (200.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/22/17    Debit     N/A       PubClub Leads           (200.00)         -      (200.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/22/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/22/17    Debit     N/A       PubClub Leads         (1,300.00)         -    (1,300.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/24/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/28/17    Debit     N/A       PubClub Leads        (14,924.00)         -   (14,924.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/28/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/07/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/07/17    Debit     N/A       PubClub Leads         (1,960.00)         -    (1,960.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/07/17    Debit     N/A       PubClub Leads         (7,280.00)         -    (7,280.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/07/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/08/17    Debit     N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/09/17    Debit     N/A       PubClub Leads           (120.00)         -      (120.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/10/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/10/17    Debit     N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/13/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/13/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/13/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/13/17    Debit     N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/13/17    Debit     N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/14/17    Debit     N/A       PubClub Leads         (5,408.00)         -    (5,408.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/15/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/15/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/17/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/17/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/17/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/21/17    Debit     N/A       PubClub Leads         (6,942.00)         -    (6,942.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/21/17    Debit     N/A       PubClub Leads           (160.00)         -      (160.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/22/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/23/17    Debit     N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/28/17    Debit     N/A       PubClub Leads         (3,068.00)         -    (3,068.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/28/17    Debit     N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/30/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/30/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/03/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/04/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/04/17    Debit     N/A       PubClub Leads         (2,652.00)         -    (2,652.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/04/17    Debit     N/A       PubClub Leads            (80.00)         -       (80.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/05/17    Debit     N/A       PubClub Leads            (40.00)         -       (40.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/07/17    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/07/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/10/17    Debit     N/A       PubClub Leads         (2,960.00)         -    (2,960.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/11/17    Debit     N/A       PubClub Leads         (2,470.00)         -    (2,470.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/11/17    Debit     N/A       PubClub Leads         (2,000.00)         -    (2,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/12/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/13/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/13/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/14/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/14/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/14/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/18/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/18/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/18/17    Debit     N/A       PubClub Leads         (3,146.00)         -    (3,146.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/18/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/18/17    Debit     N/A       PubClub Leads         (1,800.00)         -    (1,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/19/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/19/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)




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                                                   In re: Consumer Advocacy Center, Inc.
                                                           Case No. 19-10655-SMG

                                        Schedule of Payments to PubClub Leads and Brea Financial
                                        For the Period of January 16, 2015 through January 16, 2019

                                                      (Sorted in Chronological Order)

 Bank                                                    Date                 Check
 Name             Account Name          Account No.     Cleared     Type       No.       (Payee)/Payor      Amount         Credits   Debits

Chase   Consumer Advocacy Center Inc.      x1522        04/20/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/20/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/20/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/20/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/21/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/21/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/21/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/24/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/24/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/25/17    Debit     N/A       PubClub Leads           (884.00)         -      (884.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/25/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/25/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/25/17    Debit     N/A       PubClub Leads         (4,626.77)         -    (4,626.77)
Chase   Consumer Advocacy Center Inc.      x1522        04/26/17    Debit     N/A       PubClub Leads         (3,600.00)         -    (3,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/26/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/26/17    Debit     N/A       PubClub Leads         (3,775.00)         -    (3,775.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/27/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/27/17    Debit     N/A       PubClub Leads            (49.40)         -       (49.40)
Chase   Consumer Advocacy Center Inc.      x1522        05/02/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/02/17    Debit     N/A       PubClub Leads         (2,800.00)         -    (2,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/02/17    Debit     N/A       PubClub Leads         (1,118.00)         -    (1,118.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/02/17    Debit     N/A       PubClub Leads        (12,770.56)         -   (12,770.56)
Chase   Consumer Advocacy Center Inc.      x1522        05/02/17    Debit     N/A       PubClub Leads           (190.00)         -      (190.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/03/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/03/17    Debit     N/A       PubClub Leads        (12,000.00)         -   (12,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/03/17    Debit     N/A       PubClub Leads           (865.56)         -      (865.56)
Chase   Consumer Advocacy Center Inc.      x1522        05/04/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/04/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/05/17    Debit     N/A       PubClub Leads        (12,000.00)         -   (12,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/08/17    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/08/17    Debit     N/A       PubClub Leads         (2,000.00)         -    (2,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/08/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/09/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/09/17    Debit     N/A       PubClub Leads         (6,000.00)         -    (6,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/09/17    Debit     N/A       PubClub Leads        (15,728.46)         -   (15,728.46)
Chase   Consumer Advocacy Center Inc.      x1522        05/10/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/10/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/10/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/10/17    Debit     N/A       PubClub Leads         (1,014.00)         -    (1,014.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/10/17    Debit     N/A       PubClub Leads           (566.46)         -      (566.46)
Chase   Consumer Advocacy Center Inc.      x1522        05/11/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/15/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/15/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/15/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/16/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/17/17    Debit     N/A       PubClub Leads           (936.62)         -      (936.62)
Chase   Consumer Advocacy Center Inc.      x1522        05/17/17    Debit     N/A       PubClub Leads        (26,166.94)         -   (26,166.94)
Chase   Consumer Advocacy Center Inc.      x1522        05/18/17    Debit     N/A       PubClub Leads         (1,500.00)         -    (1,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/19/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/19/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/23/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/24/17    Debit     N/A       PubClub Leads        (28,947.83)         -   (28,947.83)
Chase   Consumer Advocacy Center Inc.      x1522        05/25/17    Debit     N/A       PubClub Leads         (1,092.00)         -    (1,092.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/25/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/25/17    Debit     N/A       PubClub Leads            (74.00)         -       (74.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/25/17    Debit     N/A       PubClub Leads         (6,500.00)         -    (6,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/25/17    Debit     N/A       PubClub Leads         (1,014.00)         -    (1,014.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/31/17    Debit     N/A       PubClub Leads        (26,116.87)         -   (26,116.87)
Chase   Consumer Advocacy Center Inc.      x1522        06/01/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/01/17    Debit     N/A       PubClub Leads         (7,500.00)         -    (7,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/01/17    Debit     N/A       PubClub Leads           (650.00)         -      (650.00)




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                                                   In re: Consumer Advocacy Center, Inc.
                                                           Case No. 19-10655-SMG

                                        Schedule of Payments to PubClub Leads and Brea Financial
                                        For the Period of January 16, 2015 through January 16, 2019

                                                      (Sorted in Chronological Order)

 Bank                                                    Date                 Check
 Name             Account Name          Account No.     Cleared     Type       No.       (Payee)/Payor      Amount         Credits   Debits

Chase   Consumer Advocacy Center Inc.      x1522        06/06/17    Debit     N/A       PubClub Leads        (35,856.93)         -   (35,856.93)
Chase   Consumer Advocacy Center Inc.      x1522        06/08/17    Debit     N/A       PubClub Leads         (2,000.00)         -    (2,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/12/17    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/12/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/12/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/12/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/13/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/13/17    Debit     N/A       PubClub Leads        (35,550.78)         -   (35,550.78)
Chase   Consumer Advocacy Center Inc.      x1522        06/13/17    Debit     N/A       PubClub Leads            (21.73)         -       (21.73)
Chase   Consumer Advocacy Center Inc.      x1522        06/14/17    Debit     N/A       PubClub Leads            (15.62)         -       (15.62)
Chase   Consumer Advocacy Center Inc.      x1522        06/20/17    Debit     N/A       PubClub Leads        (44,033.50)         -   (44,033.50)
Chase   Consumer Advocacy Center Inc.      x1522        06/20/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/21/17    Debit     N/A       PubClub Leads         (1,404.00)         -    (1,404.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/23/17    Debit     N/A       PubClub Leads             (5.00)         -        (5.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/26/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/28/17    Debit     N/A       PubClub Leads         (1,248.00)         -    (1,248.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/28/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/28/17    Debit     N/A       PubClub Leads        (61,197.77)         -   (61,197.77)
Chase   Consumer Advocacy Center Inc.      x1522        06/30/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/03/17    Debit     N/A       PubClub Leads         (7,800.00)         -    (7,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/03/17    Debit     N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/05/17    Debit     N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/06/17    Debit     N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/06/17    Debit     N/A       PubClub Leads           (728.00)         -      (728.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/07/17    Debit     N/A       PubClub Leads        (64,754.95)         -   (64,754.95)
Chase   Consumer Advocacy Center Inc.      x1522        07/10/17    Debit     N/A       PubClub Leads         (2,000.00)         -    (2,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/10/17    Debit     N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/10/17    Debit     N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/10/17    Debit     N/A       PubClub Leads         (2,000.00)         -    (2,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/14/17    Debit     N/A       PubClub Leads        (31,540.10)         -   (31,540.10)
Chase   Consumer Advocacy Center Inc.      x1522        07/17/17    Debit     N/A       PubClub Leads            (18.75)         -       (18.75)
Chase   Consumer Advocacy Center Inc.      x1522        07/17/17    Debit     N/A       PubClub Leads           (832.00)         -      (832.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/17/17    Debit     N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/20/17    Debit     N/A       PubClub Leads        (60,111.82)         -   (60,111.82)
Chase   Consumer Advocacy Center Inc.      x1522        07/21/17    Debit     N/A       PubClub Leads           (660.00)         -      (660.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/21/17    Debit     N/A       PubClub Leads        (10,400.00)         -   (10,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/24/17    Debit     N/A       PubClub Leads         (1,359.60)         -    (1,359.60)
Chase   Consumer Advocacy Center Inc.      x1522        07/27/17    Debit     N/A       PubClub Leads        (61,881.36)         -   (61,881.36)
Chase   Consumer Advocacy Center Inc.      x1522        07/28/17    Debit     N/A       PubClub Leads         (3,658.60)         -    (3,658.60)
Chase   Consumer Advocacy Center Inc.      x1522        08/04/17    Debit     N/A       PubClub Leads        (90,699.20)         -   (90,699.20)
Chase   Consumer Advocacy Center Inc.      x1522        08/11/17    Debit     N/A       PubClub Leads        (58,053.34)         -   (58,053.34)
Chase   Consumer Advocacy Center Inc.      x1522        08/14/17    Debit     N/A       PubClub Leads         (2,080.00)         -    (2,080.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/14/17    Debit     N/A       PubClub Leads         (2,000.00)         -    (2,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/14/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/14/17    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/18/17    Debit     N/A       PubClub Leads        (53,803.08)         -   (53,803.08)
Chase   Consumer Advocacy Center Inc.      x1522        08/28/17    Debit     N/A       PubClub Leads        (26,218.39)         -   (26,218.39)
Chase   Consumer Advocacy Center Inc.      x1522        08/30/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/31/17    Debit     N/A       PubClub Leads        (50,000.00)         -   (50,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/31/17    Debit     N/A       PubClub Leads        (18,337.35)         -   (18,337.35)
Chase   Consumer Advocacy Center Inc.      x1522        09/01/17    Debit     N/A       PubClub Leads         (1,014.00)         -    (1,014.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/01/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/11/17    Debit     N/A       PubClub Leads        (53,599.25)         -   (53,599.25)
Chase   Consumer Advocacy Center Inc.      x1522        09/12/17    Debit     N/A       PubClub Leads         (2,000.00)         -    (2,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/12/17    Debit     N/A       PubClub Leads         (1,768.00)         -    (1,768.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/12/17    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/12/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/20/17    Debit     N/A       PubClub Leads        (33,524.76)         -   (33,524.76)
Chase   Consumer Advocacy Center Inc.      x1522        09/21/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/22/17    Debit     N/A       PubClub Leads        (27,820.31)         -   (27,820.31)
Chase   Consumer Advocacy Center Inc.      x1522        09/29/17    Debit     N/A       PubClub Leads        (35,919.29)         -   (35,919.29)




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                                                   In re: Consumer Advocacy Center, Inc.
                                                           Case No. 19-10655-SMG

                                        Schedule of Payments to PubClub Leads and Brea Financial
                                        For the Period of January 16, 2015 through January 16, 2019

                                                      (Sorted in Chronological Order)

 Bank                                                    Date                 Check
 Name             Account Name          Account No.     Cleared     Type       No.       (Payee)/Payor      Amount         Credits   Debits

Chase   Consumer Advocacy Center Inc.      x1522        10/03/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        10/06/17    Debit     N/A       PubClub Leads        (16,512.30)         -   (16,512.30)
Chase   Consumer Advocacy Center Inc.      x1522        10/10/17    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        10/13/17    Debit     N/A       PubClub Leads         (7,744.80)         -    (7,744.80)
Chase   Consumer Advocacy Center Inc.      x1522        10/17/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        10/23/17    Debit     N/A       PubClub Leads         (9,704.25)         -    (9,704.25)
Chase   Consumer Advocacy Center Inc.      x1522        10/25/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        10/31/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        11/06/17    Debit     N/A       PubClub Leads         (5,613.30)         -    (5,613.30)
Chase   Consumer Advocacy Center Inc.      x1522        11/07/17    Debit     N/A       PubClub Leads         (7,580.55)         -    (7,580.55)
Chase   Consumer Advocacy Center Inc.      x1522        11/10/17    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        11/14/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        11/20/17    Debit     N/A       PubClub Leads        (12,188.95)         -   (12,188.95)
Chase   Consumer Advocacy Center Inc.      x1522        11/21/17    Debit     N/A       PubClub Leads         (9,181.50)         -    (9,181.50)
Chase   Consumer Advocacy Center Inc.      x1522        11/28/17    Debit     N/A       PubClub Leads        (15,600.00)         -   (15,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        11/29/17    Debit     N/A       PubClub Leads         (6,836.65)         -    (6,836.65)
Chase   Consumer Advocacy Center Inc.      x1522        11/29/17    Debit     N/A       PubClub Leads         (4,174.30)         -    (4,174.30)
Chase   Consumer Advocacy Center Inc.      x1522        12/08/17    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/08/17    Debit     N/A       PubClub Leads         (5,774.20)         -    (5,774.20)
Chase   Consumer Advocacy Center Inc.      x1522        12/08/17    Debit     N/A       PubClub Leads         (8,741.75)         -    (8,741.75)
Chase   Consumer Advocacy Center Inc.      x1522        12/19/17    Debit     N/A       PubClub Leads         (4,200.00)         -    (4,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/19/17    Debit     N/A       PubClub Leads        (13,411.10)         -   (13,411.10)
Chase   Consumer Advocacy Center Inc.      x1522        12/27/17    Debit     N/A       PubClub Leads        (15,986.15)         -   (15,986.15)
Chase   Consumer Advocacy Center Inc.      x1522        12/27/17    Debit     N/A       PubClub Leads         (8,400.00)         -    (8,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/02/18    Debit     N/A       PubClub Leads        (20,964.70)         -   (20,964.70)
Chase   Consumer Advocacy Center Inc.      x1522        01/05/18    Debit     N/A       PubClub Leads        (25,777.25)         -   (25,777.25)
Chase   Consumer Advocacy Center Inc.      x1522        01/09/18    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/11/18    Debit     N/A       PubClub Leads        (21,298.90)         -   (21,298.90)
Chase   Consumer Advocacy Center Inc.      x1522        01/18/18    Debit     N/A       PubClub Leads        (27,161.05)         -   (27,161.05)
Chase   Consumer Advocacy Center Inc.      x1522        01/19/18    Debit     N/A       PubClub Leads         (2,898.00)         -    (2,898.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/25/18    Debit     N/A       PubClub Leads        (36,382.30)         -   (36,382.30)
Chase   Consumer Advocacy Center Inc.      x1522        01/29/18    Debit     N/A       PubClub Leads         (4,200.00)         -    (4,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/30/18    Debit     N/A       PubClub Leads         (2,100.00)         -    (2,100.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/30/18    Debit     N/A       PubClub Leads         (2,000.00)         -    (2,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/31/18    Debit     N/A       PubClub Leads         (4,200.00)         -    (4,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/31/18    Debit     N/A       PubClub Leads        (40,258.50)         -   (40,258.50)
Chase   Consumer Advocacy Center Inc.      x1522        02/07/18    Debit     N/A       PubClub Leads         (2,184.00)         -    (2,184.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/07/18    Debit     N/A       PubClub Leads         (6,342.00)         -    (6,342.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/09/18    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/14/18    Debit     N/A       PubClub Leads        (10,961.80)         -   (10,961.80)
Chase   Consumer Advocacy Center Inc.      x1522        02/14/18    Debit     N/A       PubClub Leads         (4,200.00)         -    (4,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/21/18    Debit     N/A       PubClub Leads         (8,531.20)         -    (8,531.20)
Chase   Consumer Advocacy Center Inc.      x1522        02/21/18    Debit     N/A       PubClub Leads         (3,276.00)         -    (3,276.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/21/18    Debit     N/A       PubClub Leads         (6,090.00)         -    (6,090.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/26/18    Debit     N/A       PubClub Leads        (13,951.90)         -   (13,951.90)
Chase   Consumer Advocacy Center Inc.      x1522        03/07/18    Debit     N/A       PubClub Leads         (1,596.00)         -    (1,596.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/07/18    Debit     N/A       PubClub Leads         (2,840.00)         -    (2,840.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/07/18    Debit     N/A       PubClub Leads         (6,300.00)         -    (6,300.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/07/18    Debit     N/A       PubClub Leads         (4,200.00)         -    (4,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/07/18    Debit     N/A       PubClub Leads        (10,277.40)         -   (10,277.40)
Chase   Consumer Advocacy Center Inc.      x1522        03/08/18    Debit     N/A       PubClub Leads         (4,200.00)         -    (4,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/08/18    Debit     N/A       PubClub Leads        (16,414.00)         -   (16,414.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/13/18    Debit     N/A       PubClub Leads         (6,300.00)         -    (6,300.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/13/18    Debit     N/A       PubClub Leads         (5,000.00)         -    (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/14/18    Debit     N/A       PubClub Leads        (20,785.20)         -   (20,785.20)
Chase   Consumer Advocacy Center Inc.      x1522        03/16/18    Debit     N/A       PubClub Leads         (6,300.00)         -    (6,300.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/19/18    Debit     N/A       PubClub Leads         (1,680.00)         -    (1,680.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/20/18    Debit     N/A       PubClub Leads         (8,400.00)         -    (8,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/21/18    Debit     N/A       PubClub Leads         (8,400.00)         -    (8,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/23/18    Debit     N/A       PubClub Leads        (26,291.90)         -   (26,291.90)
Chase   Consumer Advocacy Center Inc.      x1522        03/23/18    Debit     N/A       PubClub Leads         (3,024.00)         -    (3,024.00)




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                                                   In re: Consumer Advocacy Center, Inc.
                                                           Case No. 19-10655-SMG

                                        Schedule of Payments to PubClub Leads and Brea Financial
                                        For the Period of January 16, 2015 through January 16, 2019

                                                      (Sorted in Chronological Order)

 Bank                                                    Date                 Check
 Name             Account Name          Account No.     Cleared     Type       No.      (Payee)/Payor      Amount    Credits        Debits

Chase   Consumer Advocacy Center Inc.      x1522        03/23/18    Debit    N/A PubClub Leads           (3,318.00)         -        (3,318.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/28/18    Debit    N/A PubClub Leads          (10,500.00)         -       (10,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/28/18    Debit    N/A PubClub Leads          (18,261.10)         -       (18,261.10)
Chase   Consumer Advocacy Center Inc.      x1522        03/30/18    Debit    N/A PubClub Leads           (4,982.00)         -        (4,982.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/05/18    Debit    N/A PubClub Leads          (20,272.90)         -       (20,272.90)
Chase   Consumer Advocacy Center Inc.      x1522        04/05/18    Debit    N/A PubClub Leads           (5,000.00)         -        (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/11/18    Debit    N/A PubClub Leads           (4,578.00)         -        (4,578.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/17/18    Debit    N/A PubClub Leads           (3,990.00)         -        (3,990.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/17/18    Debit    N/A PubClub Leads          (26,947.30)         -       (26,947.30)
Chase   Consumer Advocacy Center Inc.      x1522        04/18/18    Debit    N/A PubClub Leads          (10,500.00)         -       (10,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/24/18    Debit    N/A PubClub Leads          (34,541.90)         -       (34,541.90)
Chase   Consumer Advocacy Center Inc.      x1522        04/25/18    Debit    N/A PubClub Leads           (7,670.00)         -        (7,670.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/27/18    Debit    N/A PubClub Leads          (10,500.00)         -       (10,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/27/18    Debit    N/A PubClub Leads          (36,582.30)         -       (36,582.30)
Chase   Consumer Advocacy Center Inc.      x1522        05/02/18    Debit    N/A PubClub Leads           (2,142.00)         -        (2,142.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/08/18    Debit    N/A PubClub Leads          (46,299.00)         -       (46,299.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/14/18    Debit    N/A PubClub Leads           (5,000.00)         -        (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/14/18    Debit    N/A PubClub Leads           (3,318.00)         -        (3,318.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/14/18    Debit    N/A PubClub Leads          (38,475.60)         -       (38,475.60)
Chase   Consumer Advocacy Center Inc.      x1522        05/15/18    Debit    N/A PubClub Leads          (40,511.40)         -       (40,511.40)
Chase   Consumer Advocacy Center Inc.      x1522        05/18/18    Debit    N/A PubClub Leads          (12,600.00)         -       (12,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/21/18    Debit    N/A PubClub Leads           (2,940.00)         -        (2,940.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/22/18    Debit    N/A PubClub Leads          (54,076.30)         -       (54,076.30)
Chase   Consumer Advocacy Center Inc.      x1522        05/31/18    Debit    N/A PubClub Leads           (2,000.00)         -        (2,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/31/18    Debit    N/A PubClub Leads           (5,040.00)         -        (5,040.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/01/18    Debit    N/A PubClub Leads          (57,272.70)         -       (57,272.70)
Chase   Consumer Advocacy Center Inc.      x1522        06/01/18    Debit    N/A PubClub Leads             (840.00)         -          (840.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/01/18    Debit    N/A PubClub Leads           (8,400.00)         -        (8,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/05/18    Debit    N/A PubClub Leads           (8,400.00)         -        (8,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/05/18    Debit    N/A PubClub Leads           (5,000.00)         -        (5,000.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/11/18    Debit    N/A PubClub Leads          (10,500.00)         -       (10,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/11/18    Debit    N/A PubClub Leads          (54,278.90)         -       (54,278.90)
Chase   Consumer Advocacy Center Inc.      x1522        06/15/18    Debit    N/A PubClub Leads          (65,750.60)         -       (65,750.60)
Chase   Consumer Advocacy Center Inc.      x1522        06/18/18    Debit    N/A PubClub Leads           (4,578.00)         -        (4,578.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/28/18    Debit    N/A PubClub Leads          (41,143.70)         -       (41,143.70)
Chase   Consumer Advocacy Center Inc.      x1522        06/28/18    Debit    N/A PubClub Leads          (34,469.20)         -       (34,469.20)
Chase   Consumer Advocacy Center Inc.      x1522        07/02/18    Debit    N/A PubClub Leads          (52,500.00)         -       (52,500.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/05/18    Debit    N/A PubClub Leads          (43,393.20)         -       (43,393.20)
Chase   Consumer Advocacy Center Inc.      x1522        07/06/18    Debit    N/A PubClub Leads           (1,512.00)         -        (1,512.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/12/18    Debit    N/A PubClub Leads           (3,570.00)         -        (3,570.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/13/18    Debit    N/A PubClub Leads          (56,962.50)         -       (56,962.50)
Chase   Consumer Advocacy Center Inc.      x1522        07/18/18    Debit    N/A PubClub Leads          (56,893.50)         -       (56,893.50)
Chase   Consumer Advocacy Center Inc.      x1522        07/30/18    Debit    N/A PubClub Leads          (38,261.30)         -       (38,261.30)
Chase   Consumer Advocacy Center Inc.      x1522        07/30/18    Debit    N/A PubClub Leads           (1,638.00)         -        (1,638.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/30/18    Debit    N/A PubClub Leads           (3,192.00)         -        (3,192.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/30/18    Debit    N/A PubClub Leads          (78,245.30)         -       (78,245.30)
Chase   Consumer Advocacy Center Inc.      x1522        08/06/18    Debit    N/A PubClub Leads           (4,765.20)         -        (4,765.20)
Chase   Consumer Advocacy Center Inc.      x1522        08/08/18    Debit    N/A PubClub Leads           (4,200.00)         -        (4,200.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/13/18    Debit    N/A PubClub Leads          (74,777.56)         -       (74,777.56)
Chase   Consumer Advocacy Center Inc.      x1522        08/14/18    Debit    N/A PubClub Leads          (76,825.98)         -       (76,825.98)
Chase   Consumer Advocacy Center Inc.      x1522        08/21/18    Debit    N/A PubClub Leads           (3,738.00)         -        (3,738.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/22/18    Debit    N/A PubClub Leads           (3,948.00)         -        (3,948.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/23/18    Debit    N/A PubClub Leads          (50,082.95)         -       (50,082.95)
Chase   Consumer Advocacy Center Inc.      x1522        08/27/18    Debit    N/A PubClub Leads          (63,694.98)         -       (63,694.98)
Chase   Consumer Advocacy Center Inc.      x1522        08/30/18    Debit    N/A PubClub Leads           (3,896.00)         -        (3,896.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/04/18    Debit    N/A PubClub Leads          (82,974.00)         -       (82,974.00)
Chase   Consumer Advocacy Center Inc.      x1522        09/14/18    Debit    N/A PubClub Leads          (64,480.95)         -       (64,480.95)
Chase   Consumer Advocacy Center Inc.      x1522        09/18/18    Debit    N/A PubClub Leads          (73,922.08)         -       (73,922.08)
                                                                    Total Payments to PubClub Leads $(4,591,418.57) $3,750.00   $(4,595,168.57)




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                                                   In re: Consumer Advocacy Center, Inc.
                                                           Case No. 19-10655-SMG

                                        Schedule of Payments to PubClub Leads and Brea Financial
                                        For the Period of January 16, 2015 through January 16, 2019

                                                      (Sorted in Chronological Order)

 Bank                                                    Date                 Check
 Name             Account Name          Account No.     Cleared     Type       No.      (Payee)/Payor      Amount   Credits       Debits

Chase   Consumer Advocacy Center Inc.      x1522        04/24/17    Debit   N/A Brea Financial       $   (4,400.00) $   -     $   (4,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/27/17    Debit   N/A Brea Financial           (4,400.00)     -         (4,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/04/17    Debit   N/A Brea Financial           (4,400.00)     -         (4,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/25/17    Debit   N/A Brea Financial           (4,400.00)     -         (4,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/31/17    Debit   N/A Brea Financial           (4,400.00)     -         (4,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/02/17    Debit   N/A Brea Financial           (4,400.00)     -         (4,400.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/06/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/07/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/12/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/16/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/21/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/27/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/03/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/11/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/14/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/19/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/20/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/25/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        07/28/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/10/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/14/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        08/16/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        11/30/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/04/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/08/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/13/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/19/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        12/29/17    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/10/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/22/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        01/29/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/06/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/12/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/15/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/21/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        02/28/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/09/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/14/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/26/18    Debit   N/A Brea Financial           (2,800.00)     -         (2,800.00)
Chase   Consumer Advocacy Center Inc.      x1522        03/27/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/13/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        04/26/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/11/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        05/23/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/13/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
Chase   Consumer Advocacy Center Inc.      x1522        06/20/18    Debit   N/A Brea Financial           (5,600.00)     -         (5,600.00)
                                                                    Total Payments to Brea Financial $ (247,600.00) $   -     $ (247,600.00)

                                               Total Payments to PubClub Leads and Brea Financial $(4,839,018.57) $3,750.00   $(4,835,268.57)




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            EXHIBIT “B”
              (Sthay Transfers)




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                                       In re: Consumer Advocacy Center, Inc.
                                               Case No. 19-10655-SMG

                                       Schedule of Transfers to Adam Sthay
                           For the Period of January 16, 2015 through January 16, 2019

                                         (Sorted in Chronological Order)

                                           Account  Date                   Check
Bank Name          Account Name                                   Type                     Payee       Amount
                                             No.   Cleared                  No.

Chase       Consumer Advocacy Center        x1522    10/20/16     Wire         N/A    Adam Sthay   $ (23,440.00)
Chase       Consumer Advocacy Center        x1522    10/24/16     Wire         N/A    Adam Sthay      (26,000.00)
Chase       Consumer Advocacy Center        x1522    10/28/16     Wire         N/A    Adam Sthay      (13,000.00)
Chase       Consumer Advocacy Center        x1522    11/04/16     Wire         N/A    Adam Sthay      (16,520.00)
Chase       Consumer Advocacy Center        x1522    11/10/16     Wire         N/A    Adam Sthay      (15,680.00)
Chase       Consumer Advocacy Center        x1522    11/16/16     Wire         N/A    Adam Sthay      (15,600.00)
                                                                                             TOTAL $ (110,240.00)




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